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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 NATIONAL TREASURY EMPLOYEES
 UNION, et al.

                        Plaintiffs,

        v.
                                                       Case No. 25-cv-0381-ABJ
 RUSSELL VOUGHT, in his capacity as
 Acting Director of the Consumer Financial
 Protection Bureau, et al.

                        Defendants.


        [PROPOSED] ORDER GRANTING MOTION FOR ADMISSION OF JENNIFER
                        D. BENNETT PRO HAC VICE

       This matter having come before the Court on a motion of Robert D. Friedman, local

counsel for Plaintiffs, for the admission of Jennifer D. Bennett pro hac vice as co-counsel for

Plaintiffs, and the Court having considered the arguments and papers submitted herein, and for

good cause shown:

       IT IS SO ORDERED on this ___ day of ________, 2025, as follows:

       1.      Plaintiffs’ Motion for Admission of Jennifer D. Bennett Pro Hac Vice is

GRANTED.

       2.      In accordance with Local Civil Rule 83.2(e), counsel admitted pro hac vice shall

make a payment of $100.00 to the Clerk of the United States District Court.



                                             BY THE COURT:

Date: February ____, 2025                    ________________________
                                             United States District Judge
